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   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10
       SACHIN DEV DUGGAL,              )             Case No.: CV 20-1764-DMG (SKx)
  11                                   )
                          Plaintiff,   )
  12                                   )             ORDER RE VOLUNTARY
              v.                       )             DISMISSAL OF ACTION WITH
  13                                   )             PREJUDICE [11]
       JETSMARTER, INC., AND DOES 1-4, )
  14   inclusive,                      )
  15                      Defendants.  )
                                       )
  16                                   )
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  17                                   )
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  18                                   )
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             Based on the parties’ stipulation, and for good cause appearing,
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             IT IS ORDERED THAT the above-captioned action is hereby dismissed
  22
       with prejudice.
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  24
       DATED: January 11, 2021        ____________________________________
  25                                  DOLLY M. GEE
  26                                  UNITED STATES DISTRICT JUDGE

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